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 7
 8                             UNITED STATES DISTRICT COURT
 9                           EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,
11                                                       Case No.: Cr. S-04-0069-MCE
                                         Plaintiff,
12
                                                         STIPULATION AND [PROPOSED]
13         v.
                                                         ORDER EXTENDING TIME FOR
                                                         ERNST & YOUNG LLP TO FILE
14 LARRY WELLS, JEFFREY WELLS, and
                                                         MOTION TO QUASH
   HENRY KAISER,
15
16                                    Defendants.

17
18         WHEREAS on May 4, 2005, defendants Larry Wells and Jeffrey Wells served Ernst
19 & Young LLP (“E&Y”) with a Subpoena In A Criminal Case dated May 3, 2005 (the
20 “Subpoena”) in connection with the above-captioned case;
21         WHEREAS the Subpoena seeks production of testimony and documents in the
22 above-referenced Court on May 10, 2005;
23         WHEREAS E&Y intends to move to quash or modify the Subpoena;
24         WHEREAS defendants Larry Wells and Jeffrey Wells have indicated to this Court
25 that further subpoenas will be issued to other entities within the next week to ten days
26 involving the same legal issues and facts as the Subpoena; and
27         WHEREAS E&Y and the defendants have agreed that it is appropriate to allow E&Y
28 additional time to file any motion to quash or modify the Subpoena;

     STIPULATION AND [PROPOSED] ORDER EXTENDING TIME OF ERNST & YOUNG LLP TO FILE MOTION
     TO QUASH : CR. S-04-0069-MCE
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 1         WITH THE COURT’S PERMISSION, IT IS HEREBY STIPULATED and agreed
 2 by and among the undersigned on behalf of their respective clients, that:
 3         1.     E&Y may file its motion to quash or modify the Subpoena on or before May
 4 17, 2005;
 5         2.     E&Y will not be required to appear or produce documents or testimony in
 6 response to the Subpoena while its motion to quash or modify the Subpoena is pending;
 7 IT IS SO STIPULATED:
 8
     DATED: May 9, 2005                   HELLER EHRMAN WHITE & MCAULIFFE LLP
 9
10
                                          By /s/ Alexander M.R. Lyon
11                                           ALEXANDER M.R. LYON

12                                           Attorneys for Ernst & Young LLP

13
     DATED: May 9, 2005
14
15
                                             /s/ William J. Portanova
16                                           WILLIAM J. PORTANOVA

17                                           Attorney for Larry Wells

18 DATED: May 6, 2005                        /s/ Wayne Ordos_______
                                             WAYNE ORDOS
19
                                             Attorney for Jeffrey Wells
20
21 IT IS SO ORDERED:
22 Dated: May 10, 2005
23                                        __________________________________
                                          MORRISON C. ENGLAND, JR
24                                        UNITED STATES DISTRICT JUDGE
25
26
27
28
                                                2
     STIPULATION AND [PROPOSED] ORDER EXTENDING TIME OF ERNST & YOUNG LLP TO FILE MOTION
     TO QUASH : CR. S-04-0069-MCE
